Case 1:21-cv-02253-JMF Document 18 Filed 05/26/21 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

xX
BLUESTONE RESOURCES INC. et al.,
Plaintiffs, Civil Action No. 21 CV 2253 (JMF)
-V-
GREENSILL CAPITAL (UK) LIMITED et al.,
Defendants.
x
AFFIDAVIT OF SERVICE

 

STATE OF NEW YORK _ )
> SS.
COUNTY OF NEW YORK )

DAVID LIEBOV, being duly sworn, deposes and says that he is over 18 and not a party
to this action and that on the 25" day of May, 2021 he served true copies of the Order to Show
Cause signed by Judge Jesse M. Furman on May 24, 2021 (Docket Entry #17) by E-Mail and by

Federal Express upon the following:

Christos G. Papapetrou, Esq.
Levine Lee LLP

5 Columbus Circle, 11th Floor
New York, New York 10019
cpapapetrou@levinelee.com;

Laura Hall, Esq.

Allen & Overy LLP

1221 6th Ave

New York, NY 10020
Laura.Hall@AllenOvery.com and
Case 1:21-cv-02253-JMF Document 18 Filed 05/26/21 Page 2 of 2

Lex Greensill

One Southampton Street
Covent Garden

London WC2R OLR,
United Kingdom

Lex@greensill.com.

Qi La

Sworn to before me this
26" day of May, 2021.

— . -

 

Notary Public

   

She i Yorn Gounty
Commission Expires July 24, 2021
